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1                        UNITED STATES DISTRICT COURT
2                   FOR THE NORTHERN DISTRICT OF NEW YORK
3                                    ---oOo---
4
5       NIKE, INC.,                           )
                                              )
6                    Plaintiff,               )
                                              )
7       vs.                                   )    No. 1:22-cv-00983-VEC
                                              )
8       STOCKX LLC,                           )
                                              )
9                    Defendant.               )
        __________________________)
10
11
12                    H I G H L Y         C O N F I DE N T I A L
13                            OUTSIDE ATTORNEYS' EYES ONLY
14                    VIDEOTAPED DEPOSITION OF JOHN LOPEZ
15                             SAN FRANCISCO, CALIFORNIA
16                            THURSDAY, FEBRUARY 23, 2023
17
18
19
20
21      STENOGRAPHICALLY REPORTED BY:
22      ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~
23      CSR LICENSE NO. 9830
24      JOB NO. 5688745
25

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1                       UNITED STATES DISTRICT COURT
2                   FOR THE NORTHERN DISTRICT OF NEW YORK
3                                   ---oOo---
4
5
        NIKE, INC.,                       )
6                                         )
                     Plaintiff,           )
7                                         )
        vs.                               )    No. 1:22-cv-00983-VEC
8                                         )
        STOCKX LLC,                       )
9                                         )
                     Defendant.           )
10      __________________________)
11
12
13
14                  Videotaped Deposition of John Lopez, taken
15            on behalf of the Plaintiff, Pursuant to Notice, on
16            Thursday, February 23, 2023, beginning at
17            9:27 a.m., and ending at 6:55 p.m., before me,
18            ANDREA M. IGNACIO, CSR, RPR, CCRR, CRR, CLR ~
19            License No. 9830.
20
21
22
23
24
25

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                                                                     Page 25

1            A      It was, yes.
2            Q      And when did that start?
3            A      I joined the company in August of 2018.
4       August 6th, to be exact.
5            Q      How long were you a Level 1 authenticator
6       before you were promoted to a Level 2 authenticator?
7            A      I would say about six to eight months into my
8       time at the company.
9            Q      And for how long did you hold the role of
10      Level 2 authenticator?
11           A      Again, I -- I don't have an exact time frame,
12      but I would say -- I would say about six months as
13      well.
14           Q      And is the change in role from Level 2
15      authenticator to the AQA --
16           A      Yeah.
17           Q      -- is that a promotion?
18           A      That was a promotion, yes.
19           Q      How long were you in the AQA role?
20           A      I would say about a year as well.              Eight
21      months to a year.
22           Q      And is the change in role from AQA to Level 3
23      authent- -- authenticator also a promotion?
24           A      That was a promotion as well, yes.
25           Q      Is that a standard career track for someone

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1       in the authentication position at StockX?




11           Q      So why did you become an AQA between Level 2
12      and 3 authenticator?
13           A      So there was a need in our New Jersey
14      warehouse at the time for an authentication quality
15      assurance role.       And I did interview for that role,
16      and I was able to assume the position at that time.
17           Q      What's the difference between an AQA role and
18      an authenticator role at StockX?




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11           Q      Were you employed prior to joining StockX in
12      August of 2018?
13           A      I actually was -- I -- sorry.            Can you just
14      rephrase that question.
15           Q      Sure.   Prior to joining StockX in August of
16      2018, did you have a job before that?
17           A      I -- I had an LLC.       I ran my own business at
18      the time.
19           Q      What -- what sort of business were you
20      running at that time?
21           A      A sneaker buy/sell/trade shop,
22      brick-and-mortar store.
23           Q      What was the name of your brick-and-mortar
24      sneaker store?
25           A      The Sole Market LLC.         S-O-L-E.

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1            Q      Do you know what's included in that
2       background check?
3            A      No, I do not.
4            Q      Are individuals that are hired to be
5       authenticators at StockX interviewed?
6            A      They are, yes.
7            Q      How many interviews do they sit for?
8            A      I don't know the exact number, but I can tell
9       you my personal experience.            I had three interviews.
10           Q      Once an individual is hired at StockX as an
11      authenticator, is there an on-boarding process?
12           A      There is, yes.
13           Q      Can you describe the on-boarding process for
14      an authenticator at StockX, please.




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1                   MR. MILLER:     Can I have the next one.               Can
2       you mark those two, please.
3                   (Documents marked Exhibits 11 - 12
4                    for identification.)
5                   MR. MILLER:     So Mr. Lopez, you've been handed
6       two documents.
7            Q      The first one has been marked as Exhibit 11,
8       and that's the one that's titled:
9                   (As read):
10                  "Jordan 1 High OG SP Fragment Design x Travis
11      Scott."
12                  Do you see that?
13           A      I do, yes.
14           Q      Okay.     And it's bearing Bates stamp
15      STX0058653 through '58669.
16                  Do you see that?
17           A      I do, yes.
18           Q      Okay.     What is this document?




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1      please.      This is a document titled:
2                  (As read):




5                  Do you see that?
6           A      I do, yes.
7           Q      Okay.     And it's bearing Bates Nos. STX0058670
8      through '58693.
9                  What is this document?




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6                   MR. MILLER:     This is 13; right?
7                   STENOGRAPHIC REPORTER:            13.
8                   MR. MILLER:     Thanks.
9                   (Document marked Exhibit 13
10                   for identification.)
11                  MR. MILLER:     All right.
12           Q      Mr. Lopez, you've been handed a document from
13      the court reporter labeled as Exhibit 13.                     It's
14      bearing Bates Nos. STX0106086 to '6087.
15                  Do you see that?
16           A      I do, yes.
17           Q      Do you recognize this document?
18           A      Just give me a moment to read the document,
19      please.
20           Q      Sure.
21           A      (Witness reading document.)
22                  Okay.
23           Q      Do you recognize this document?
24           A      I do, yes.
25           Q      What is this document?

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